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 Flatbush RHO Hotel LLC and 85 Flatbush RHO
 Residential LLC, Appellants

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
                                                              Chapter 11
 In re:
                                                              Case No.: 20-23280 (SHL)
 85 FLATBUSH RHO MEZZ LLC, et al., 1
                                                              (Jointly Administered)
                                    Debtors.
 ---------------------------------------------------------X

  APPELLANTS 85 FLATBUSH RHO MEZZ LLC, 85 FLATBUSH RHO HOTEL LLC
               AND 85 FLATBUSH RHO RESIDENTIAL LLC’S
        STATEMENT OF ISSUES ON APPEAL AND DESIGNATION OF
            ITEMS TO BE INCLUDED IN RECORD ON APPEAL

          85 Flatbush RHO Mezz LLC (“Mezz”), 85 Flatbush RHO Hotel LLC (“Hotel”) and 85

Flatbush RHO Residential LLC (“Residential” and with Mezz and Hotel, “Appellants” or

“Debtors”), by their attorneys, Leech Tishman Robinson Brog PLLC, respectfully submit this

statement of issues on appeal and designation of items to be included in record on appeal pursuant

to Rule 8009(a)(1) of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) and

Local Rule 8009-1 of the Local Bankruptcy Rules for the United States Bankruptcy Court for the

Southern District of New York (“Local Bankruptcy Rules”), in connection with their July 20,

2022 Notice of Appeal (“Appeal”) taken from the July 6, 2022 Findings of Fact, Conclusions of




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: 85 Flatbush RHO Mezz LLC. (6184); 85 Flatbush RHO Hotel LLC (5027);
and 85 Flatbush RHO Residential LLC (2261).



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Law, and Order Confirming TH Holdco LLC’s Second Amended Chapter 11 Plan, as modified by

this Order, entered by the United States Bankruptcy Court for the Southern District of New York

(“Bankruptcy Court”) (Docket No. 280) (“Confirmation Order”).

         As and for their Statement of Issues, Appellants state as follows:

                                       ISSUES ON APPEAL

         1.       Whether the Bankruptcy Court erred in overruling the Debtors’ confirmation

objection and entering the Confirmation Order without first holding a hearing to establish the value

of the Debtors’ 174-room boutique hotel known as the Tillary Hotel Brooklyn, a 64-unit luxury

multi-family building and the parking garage located at 85 Flatbush Extension, Brooklyn, New

York (“Property”)?

         2.        Whether the Bankruptcy Court erred in overruling the Debtors’ confirmation

objection and entering the Confirmation Order without first holding hearing to determine the

allowed amount of TH Holdco’s secured claim?

         3.       Whether the Bankruptcy Court erred in entering the Confirmation Order without

providing the Debtors with an opportunity to confirm their own plan of reorganization and

considering the preferences of the Debtors’ creditors and equity security holders in accordance

with 11 U.S.C. § 1129(c)?

         4.       Whether the Bankruptcy Court erred in overruling the Debtors’ confirmation

objection and entering the Confirmation Order before a final adjudication of the adversary

proceeding captioned: In Re 85 Flatbush Mezz LLC v. TH Holdco LLC, Adv. Proc. No. 22-07022

(SHL) ("Adversary Proceeding")?

         5.       Whether the Bankruptcy Court erred in overruling the Debtors’ confirmation

objection and entering the Confirmation Order finding that the TH Holdco plan was proposed with




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honesty and good intentions and with a basis for expecting that a reorganization can be effected in

“good faith” within the meaning of section 1129(a)(3) of the Bankruptcy Code without taking

evidence on the issue and having not adjudicated the Adversary Proceeding claiming TH Holdco

improperly acquired its senior secured claim in violation of its Intercreditor Agreement with the

Mezzanine Lender ?

         6.       Whether the Bankruptcy Court erred in entering the Confirmation Order finding

TH Holdco was a good faith purchaser under 363(m) of the Bankruptcy Code when it has not yet

adjudicated the Adversary Proceeding, the bid deadline had not yet passed and the Bankruptcy

Court did not take any evidence supporting the finding?



         DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL




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 ENTRY DATE            DOCKET NO.   DOCUMENT
 7/20/2022             286          Notice of Appeal filed by Arnold
                                    Mitchell Greene on behalf of 85
                                    Flatbush RHO Hotel LLC, 85
                                    Flatbush RHO Mezz LLC, 85
                                    Flatbush RHO Residential LLC.
 7/20/2022             285          Notice of Appeal filed by Michael
                                    Ryan Pinkston on behalf of 85
                                    Flatbush Mezz LLC.
 7/15/2022             284          Order Signed On 7/15/2022,
                                    Denying Debtors' Motion For
                                    Order Disqualifying TH Holdco
                                    LLC From Credit Bidding
 7/7/2022              282          Transcript regarding Hearing
                                    Held on 06/30/22 at 11:39 A.M.
                                    RE: Hearing On Confirmation Of
                                    Chapter 11 Plan Of Th Holdco
                                    Llc Etc.
 7/7/2022              281          Findings of Fact and Conclusions
                                    of Law - Notice of Entry of Order
                                    Confirming Second Amended
                                    Chapter 11 Plan Filed By
                                    Creditor TH Holdco LLC Related
                                    To 85 Flatbush Rho Mezz, LLC,
                                    85 Flatbush Rho Hotel LLC, and
                                    85 Flatbush Rho Residential LLC
 7/7/2022              280          Finding Of Fact, Conclusions Of
                                    Law, And Order Signed On
                                    7/6/2022, Confirming TH Holdco
                                    LLC's Second Amended Chapter
                                    11 Plan, As Modified By This
                                    Order
 6/30/2022             277          Declaration - Supplemental
                                    Declaration of Daryl Hagler In
                                    Support of Debtors' Second
                                    Amended Chapter 11 Plan
 6/29/2022             275          Affidavit /Reply to Opposition of
                                    TH Holdco LLC to the Mezzanine
                                    Lender's Objection to
                                    Confirmation
 6/27/2022             268          Second Amended Plan - Purchase
                                    and Sale Agreement By and
                                    Between 85 Flatbush RHO Hotel
                                    LLC and 85 Flatbush RHO
                                    Residential LLC as Sellers, and
                                    TH Holdco LLC




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 6/27/2022             267   Declaration of Franco Famularo
                             In Response To (I) Debtors
                             Motion For Order Pursuant To 11
                             U.S.C. §363(K) Disqualifying TH
                             Holdco LLC From Credit Bidding
                             and Granting Related Relief, (II)
                             Debtors Second Amended
                             Chapter 11 Plan of
                             Reorganization, and (III) In
                             Support of TH Holdcos Second
                             Amended Plan
 6/27/2022             266   Objection to Motion for Order
                             Pursuant To 11 U.S.C. § 363(K)
                             Disqualifying TH Holdco LLC
                             From Credit Bidding And
                             Granting Related Relief
 6/27/2022             265   Declaration of Franco Famularo
                             In Support of TH Holdco LLCs
                             Request For Confirmation of
                             Second Amended Chapter 11 Plan
 6/27/2022             264   Memorandum of Law In Support
                             Of Confirmation of TH Holdcos
                             Plan and In Response To
                             Objections To TH Holdcos Plan
 6/24/2022             254   Objection to Motion TH Holdco
                             LLC's Objection to Debtors'
                             Motion Pursuant to Bankruptcy
                             Rule 9006(c) for Order
                             Shortening Notice on Debtors'
                             Motion for Order (I)
                             Preliminarily Approving
                             Disclosure Statement and (II)
                             Scheduling Hearing on the
                             Debtors' Motion for an Order
                             Approving Disclosure Statement
                             and Confirming Debtors' Plan of
                             Reorganization




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 6/24/2022             253   Notice of Hearing - NOTICE
                             OF HEARING ON (I)
                             MOTION PURSUANT TO
                             BANKRUPTCY RULE
                             9006(C) FOR ORDER
                             SHORTENING NOTICE ON
                             MOTION FOR ORDER (I)
                             PRELIMINARILY
                             APPROVING DISCLOSURE
                             STATEMENT AND (II)
                             SCHEDULING HEARING
                             ON THE DEBTORS'
                             MOTION FOR AN ORDER
                             APPROVING DISCLOSURE
                             STATEMENT AND
                             CONFIRMING DEBTORS'
                             PLAN OF
                             REORGANIZATION AND (II)
                             MOTION PURSUANT TO
                             BANKRUPTCY RULE
                             9006(C) FOR ORDER
                             SHORTENING NOTICE ON
                             DEBTORS' MOTION FOR
                             ORDER PURSUANT TO 11
                             U.S.C. SEC. 363(K)
                             DISQUALIFYING TH
                             HOLDCO LLC FROM
                             CREDIT BIDDING AND
                             GRANTING RELATED
                             RELIEF

 6/23/2022             252   Certification of Ballots TH
                             Holdco LLC's Voting Record
                             Certifying Acceptances and
                             Rejections of TH Holdco
                             LLC's Second Amended Plan
 6/23/2022             244   Motion to Shorten Time -
                             MOTION PURSUANT TO
                             BANKRUPTCY RULE
                             9006(c) FOR ORDER
                             SHORTENING NOTICE ON
                             DEBTORS' MOTION FOR
                             ORDER PURSUANT TO 11
                             U.S.C. SECTION 363(K)
                             DISQUALIFYING TH
                             HOLDCO LLC FROM
                             CREDIT BIDDING AND
                             GRANTING RELATED
                             RELIEF




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 6/23/2022             243   Motion to Shorten Time -
                             MOTION PURSUANT TO
                             BANKRUPTCY RULE 9006(c)
                             FOR ORDER SHORTENING
                             NOTICE ON DEBTORS'
                             MOTION FOR ORDER (I)
                             PRELIMINARILY APPROVING
                             DISCLOSURE STATEMENT
                             AND (II) SCHEDULING
                             HEARING ON THE
                             DEBTORS' MOTION FOR AN
                             ORDER APPROVING
                             DISCLOSURE STATEMENT
                             AND CONFIRMING
                             DEBTORS PLAN OF
                             REORGANIZATION
 6/23/2022             242   Motion to Approve -
                             MOTION FOR ORDER (I)
                             PRELIMINARILY
                             APPROVING DISCLOSURE
                             STATEMENT AND (II)
                             SCHEDULING HEARING
                             ON THE DEBTORS
                             MOTION FOR AN ORDER
                             APPROVING DISCLOSURE
                             STATEMENT AND
                             CONFIRMING
                             DEBTORS PLAN OF
                             REORGANIZATION
 6/23/2022             241   Disclosure Statement -
                             DISCLOSURE STATEMENT
                             FOR SECOND AMENDED
                             CHAPTER 11 PLAN OF
                             REORGANIZATION OF 85
                             FLATBUSH RHO MEZZ, LLC,
                             85 FLATBUSH RHO HOTEL
                             LLC AND 85 FLATBUSH RHO
                             RESIDENTIAL LLC
 6/23/2022             240   Second Amended Plan -
                             SECOND AMENDED
                             CHAPTER 11 PLAN OF
                             REORGANIZATION OF 85
                             FLATBUSH RHO MEZZ,
                             LLC, 85 FLATBUSH RHO
                             HOTEL LLC AND 85
                             FLATBUSH RHO
                             RESIDENTIAL LLC




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 6/22/2022             232   Motion to Disqualify -
                             DEBTORS' MOTION FOR
                             ORDER PURSUANT TO 11
                             U.S.C. § 363(K)
                             DISQUALIFYING TH
                             HOLDCO LLC FROM
                             CREDIT BIDDING AND
                             GRANTING RELATED
                             RELIEF
 6/22/2022             231   Declaration -
                             DECLARATION OF DARYL
                             HAGLER IN SUPPORT OF
                             DEBTORS' OBJECTION TO
                             CONFIRMATION OF
                             SECOND AMENDED
                             CHAPTER 11 PLAN FILED
                             BY CREDITOR TH
                             HOLDCO LLC
 6/22/2022             230   Declaration -
                             DECLARATION OF JON
                             DIPIERTA IN SUPPORT OF
                             DEBTORS OBJECTION TO
                             CONFIRMATION OF
                             SECOND AMENDED
                             CHAPTER 11 PLAN FILED
                             BY CREDITOR TH
                             HOLDCO LLC
 6/22/2022             229   Objection - DEBTORS'
                             OBJECTION TO
                             CONFIRMATION OF
                             SECOND AMENDED
                             CHAPTER 11 PLAN FILED
                             BY CREDITOR TH
                             HOLDCO LLC
 6/22/2022             228   Objection Limited Objection
                             to Plan-New York City
                             Department of Finance and
                             Water Board
 6/22/2022             227   Objection to Confirmation of
                             Amended Plan – 85 Flatbush
                             Mezz LLC
 6/15/2022             224   Chapter 11 Plan - Notice
                             Regarding Executory
                             Contracts and Unexpired
                             Leases To Be Rejected
                             Pursuant To The Plan




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 6/15/2022             223   Chapter 11 Plan - Notice of
                             Filing of Plan Supplement
                             For Second Amended Chapter
                             11 Plan Filed by Creditor TH
                             Holdco LLC Related To 85
                             Flatbush RHO Mezz, LLC, 85
                             Flatbush RHO Hotel LLC,
                             and 85 Flatbush RHO
                             Residential LLC
 5/31/2022             214   Affidavit of Publication For
                             Notice of Bankruptcy Auction
 5/26/2022             213   Notice of Hearing /Notice of
                             Entry of Order Granting TH
                             Holdco LLCS Motion To
                             Approve (I) The Adequacy of
                             Information In The
                             Disclosure Statement, (II)
                             Solicitation and Notice
                             Procedures, (III) Forms of
                             Ballots, and (IV) Certain
                             Dates With Respect Thereto
 5/26/2022             212   Second Amended Disclosure
                             Statement filed by Lauren M.
                             Macksoud on behalf of TH
                             Holdco LLC
 5/26/2022             211   Second Amended Plan Filed
                             By Creditor TH Holdco LLC
                             Related To 85 Flatbush RHO
                             Mezz, LLC, 85 Flatbush RHO
                             Hotel LLC, and 85 Flatbush
                             RHO Residential LLC
 5/26/2022             210   Order signed on 5/26/2022
                             Granting TH Holdco LLC's
                             Motion to Approve (I) The
                             adequacy of Information in
                             the Disclosure Statement,
                             (II) Solicitation and Notice
                             Procedures, (III) Forms of
                             Ballots, and (IV) Certain
                             Dates with Respect
                             Thereto.




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 5/26/2022             209   Transcript regarding Hearing
                             Held on 05/16/22 at 11:08
                             A.M. RE: Notice Of
                             Hearing/Continued Hearing
                             On Th Holdco Llcs Motion To
                             Approve (I) The Adequacy Of
                             Information In The Disclosure
                             Statement, (Ii) Solicitation
                             And Notice Procedures, (Iii)
                             Forms Of Ballots And (Iv)
                             Certain Dates With Respect
                             Thereto
 5/13/2022             200   Response /TH Holdco LLC'S
                             Reply To The Debtors
                             Objection and The Mezz
                             Lenders Objection To TH
                             Holdco LLC'S Second
                             Amended Disclosure
                             Statement
 5/10/2022             199   Objection to Disclosure
                             Statement-85 Flatbush Mezz
                             LLC
 5/9/2022              198   Objection to Disclosure
                             Statement on behalf of 85
                             Flatbush RHO Hotel LLC, 85
                             Flatbush RHO Mezz LLC, 85
                             Flatbush RHO Residential LLC.
 4/27/2022             196   Notice of Hearing /Continued
                             Hearing on TH Holdco LLC's
                             Motion To Approve (I) The
                             Adequacy of Information In The
                             Disclosure Statement,(II)
                             Solicitation and Notice
                             Procedures, (III) Forms of
                             Ballots, and (IV) Certain Dates
                             With Respect Thereto
 4/26/2022             195   Notice of Hearing
 4/8/2022              186   Transcript regarding Hearing
                             Held on 04/06/22 at 10:35 A.M.
                             RE: Motion To Approve/Th
                             Holdco Llcs Motion To
                             Approve (I) The Adequacy Of
                             Information In The Disclosure
                             Statement, (Ii) Solicitation And
                             Notice Procedures, (Iii) Forms
                             Of Ballots, (Iv) Certain Dates
                             With Respect Thereto




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 4/4/2022              174   Declaration of Franco
                             Famularo In Support of TH
                             Holdco LLC'S Combined (A)
                             Response To Objections To
                             Motion To Approve (I) The
                             Adequacy of Information In The
                             Disclosure Statement, (II)
                             Solicitation and Notice
                             Procedures, (III) Forms of
                             Ballots, and (IV) Certain Dates
                             with Respect Thereto and (B)
                             Objection To Debtors
                             Disclosure Statement For
                             Amended Plan of
                             Reorganization
 4/4/2022              173   Response /TH Holdco LLC'S
                             Combined (A) Response To
                             Objections To Motion To
                             Approve (I) The Adequacy of
                             Information In The Disclosure
                             Statement, (II) Solicitation and
                             Notice Procedures, (III) Forms
                             of Ballots, and (IV) Certain
                             Dates with Respect Thereto and
                             (B) Objection To Debtors
                             Disclosure Statement For
                             Amended Plan of
                             Reorganization
 3/30/2022             166   Objection to Disclosure
                             Statement filed by Creditor TH
                             Holdco LLC
 3/24/2022             160   Objection to Motion-85
                             Flatbush Mezz LLC
 3/23/2022             159   Adversary case 22-07022.
                             Complaint against TH Holdco
                             LLC
 2/24/2022             158   Motion to Approve /TH Holdco
                             LLCs Motion To Approve (I)
                             The Adequacy of Information In
                             The Disclosure Statement, (II)
                             Solicitation and Notice
                             Procedures, (III) Forms of
                             Ballots, and (IV) Certain Dates
                             With Respect Thereto
 2/20/2022             152   Disclosure Statement (related
                             document(s)151) filed by
                             Lauren M. Macksoud on behalf
                             of TH Holdco LLC.
 2/20/2022             151   Chapter 11 Plan By Creditor TH
                             Holdco LLC Related To 85
                             Flatbush RHO Mezz, LLC, 85
                             Flatbush RHO Hotel LLC, And
                             85 Flatbush RHO Residential
                             LLC
 12/18/2020            1     Chapter 11 Voluntary Petition:
                             85 Flatbush RHO Mezz LLC




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 12/18/2020                 1                       Chapter 11 Voluntary Petition:
                                                    85 Flatbush RHO Hotel
                                                    Residential LLC, Case No. 20-
                                                    23281
 12/18/2020                 1                       Chapter 11 Voluntary Petition:
                                                    85 Flatbush RHO Residential
                                                    LLC, Case No. 20-23282




Dated: New York, New York
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                                By: /s/ A. Mitchell Greene
                                       A. Mitchell Greene




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